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                                    No. 25-1164


              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT


                                  D.B.U., et al.,
                              Appellees - Petitioners,

                                         v.

                DONALD J. TRUMP, in his official capacity as
                   President of the United States, et al.,
                        Appellants – Respondents.


              ON APPEAL FROM THE UNITED STATES
        DISTRICT COURT FOR THE DISTRICT OF COLORADO
                        No. 1:25-cv-01163
                   The Hon. Charlotte N. Sweeney



                     APPELLANTS-RESPONDENTS’
                  MOTION FOR VOLUNTARY DISMISSAL


      This appeal, which challenged a district court’s temporary restraining order

(“TRO”), issued on April 22, 2025, in the District Court for the District of

Colorado, along with the incorporated minute orders at ECF Nos. 10, 14, is now

moot. See Resp. Exh. A (April 22, 2025, District Court order granting the TRO).

The order on appeal specified, “Because this Court’s prior order was issued

pursuant to the Court’s authority under the All Writs Act, and the Court’s instant
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Order is issued under Rule 65, the terms of this TRO expire on May 6, 2025.” Id.

at 14. Although the order circumscribed that, “[t]he Court may, in its discretion or

at the urging of the parties, extend the terms of this TRO by good cause shown,”

the District Court did not elect to extend the terms of the TRO, and instead issued a

preliminary injunction. See D.B.U. v. Trump, No. 1:25-CV-01163-CNS, 2025 WL

1304288 (D. Colo. May 6, 2025). Thus, the TRO expired on May 6, 2026.

Accordingly, because the orders at issue have expired, these proceedings are now

moot and Respondents respectfully request that the Court dismiss these

proceedings.

      Per Fed R. App. P.42(b)(2), which establishes that an appeal may be

dismissed on the appellant’s motion on terms agreed to by the parties or fixed by

the court, counsel for Respondents contacted Petitioners’ counsel on May 9, 2025,

who indicated that Petitioners do not oppose this motion. Respondents request

that the parties bear their own costs.
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                               Respectfully submitted,

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                               s/ Spencer Shucard
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Dated: May 9, 2025             Counsel for Appellants-Respondents
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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing motion complies with the word limit of

Federal Rule of Appellate Procedure 27(d)(2)(A) because the motion contains 251

words. The motion complies with the typeface and type-style requirements of Federal

Rules of Appellate Procedure 27(d)(1)(E) and 32(a)(5) and (6) because it has been

prepared using Microsoft Word 365 in proportionally spaced 14-point Times New

Roman typeface.




                                             /s/ Spencer Shucard
                                             Trial Attorney
                                             U.S. Department of Justice



                          CERTIFICATE OF SERVICE

      I hereby certify that on May 9, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

Tenth Circuit by using the appellate CM/ECF system. Participants in the case are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.

                                             /s/ Spencer Shucard
                                             Trial Attorney
                                             U.S. Department of Justice
